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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.         2:21-cv-04487-CJC-JC                                           Date    November 9, 2021
 Title            Cyrus Haroonian v. City of Los Angeles, et al.




 Present: The Honorable             Jacqueline Chooljian, United States Magistrate Judge
                  Kerri Hays                                   None                             None
                Deputy Clerk                         Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiff:                    Attorneys Present for Defendants:
                             none                                                 none
 Proceedings:                  (IN CHAMBERS)

                               ORDER TO SHOW CAUSE WHY ACTION SHOULD NOT BE
                               DISMISSED AS AGAINST DEFENDANTS ANGEL SINDAYEN AND
                               STEVE ONGELE FOR LACK OF SERVICE

         On May 28, 2021, plaintiff, who is at liberty and is proceeding pro se, paid the filing fee and
filed a complaint against the City of Los Angeles, Angel Sindayen, Steven Ongele, and “Does 1-100.”
On June 2, 2021, the court issued an order (“June Order”) advising plaintiff that pursuant to Rule 4(m)
of the Federal Rules of Civil Procedure, service of the summons and complaint must be accomplished
on each defendant within 90 days after the filing of the complaint (i,e., by August 26, 2021), absent
good cause shown to extend the time for an appropriate period. The June Order directed plaintiff to file
separate proof of service forms for each defendant served within the 90-day period, and cautioned
plaintiff that his failure to effectuate proper service by August 26, 2021, may result in dismissal of the
action without prejudice as to any unserved defendant(s) by reason of plaintiff’s failure to prosecute,
unless plaintiff could show good cause to extend the time for service.

       To date, plaintiff has failed to file proof of service forms reflecting that defendants Angel
Sindayen and Steve Ongele have been served, and such defendants have not appeared in this action.

         IT IS THEREFORE ORDERED, pursuant to Rule 4(m) of the Federal Rules of Civil Procedure
and Local Rule 41-1, that within fourteen (14) days of the date of this Order, plaintiff shall show cause,
if there be any, why service was not made on defendants Angel Sindayen and Steve Ongele by August
26, 2021, and why this case should not be dismissed without prejudice as against such defendants for
failure to effectuate service and for lack of prosecution. Failure timely to respond to this Order to Show
Cause or to show cause, may result in the dismissal of this action without prejudice as against such
defendants for failure to effectuate service and/or for lack of prosecution.

         IT IS SO ORDERED.


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